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ANDREW P. BRIDGES (CSB No. 122761)
abridges@fenwick.com
MEGHAN E. FENZEL (CSB No. 324139)
mfenzel@fenwick.com
FENWICK & WEST LLP
801 California Street
Mountain View, CA 94041
Telephone:     650.988.8500
Facsimile:     650.938.5200

ARMEN N. NERCESSIAN (CSB No. 284906)
anercessian@fenwick.com
FENWICK & WEST LLP
555 California Street, 12th Floor
San Francisco, CA 94104
Telephone:     415.875.2300
Facsimile:     415.281.1350

Attorneys for Defendant
CLOUDFLARE, INC.

                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                 (SAN FRANCISCO DIVISION)

MON CHERI BRIDALS, LLC,                      Case No.: 19-cv-01356-VC

                  Plaintiff,                 DEFENDANT CLOUDFLARE, INC.’S
                                             NOTICE OF MOTION AND MOTION TO
                                             DISMISS AMENDED COMPLAINT FOR
       v.                                    FAILURE TO STATE A CLAIM

CLOUDFLARE, INC., and DOES 1–500,            Date:        June 19, 2019
Inclusive,                                   Time:        10:00 a.m.
                                             Courtroom:   4
                  Defendant.                 Judge:       Hon. Vince Chhabria




 DEF’S MOTION TO DISMISS AMENDED
 COMPLAINT FOR FAILURE TO STATE A                                CASE NO. 19-cv-01356-VC
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                 NOTICE OF AND MOTION AND MOTION TO DISMISS

TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

       Cloudflare, Inc. hereby gives notice that it will present its motion to dismiss this action

under Fed. R. Civ. P. 12(b)(6) for failure to state a claim on June 19, 2019 at 10:00 a.m. in

Courtroom 4 of the United States District Court for the Northern District of California, San

Francisco Division, 450 Golden Gate Avenue, San Francisco, CA 94102.

       The plaintiffs fail to plead sufficient facts to state a claim of contributory infringement

against Cloudflare. Cloudflare requests that the court dismiss the plaintiffs’ claim against

Cloudflare with prejudice. Cloudflare bases the motion on this notice, the accompanying

memorandum of points and authorities, the amended complaint, all other pleadings and papers in

the case, and any other evidence or argument before the Court.



Dated: April 25, 2019                         FENWICK & WEST LLP

                                              By: /s/ Andrew P. Bridges
                                                  Andrew P. Bridges

                                              Attorneys for Defendant
                                              CLOUDFLARE, INC.




 DEF’S MOTION TO DISMISS AMENDED
 COMPLAINT FOR FAILURE TO STATE A                1                         CASE NO. 19-cv-01356-VC
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